                                   Case 20-10166-JTD                 Doc 1       Filed 01/27/20            Page 1 of 24

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Lucky's Market Parent Company, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6328 Monarch Park Place
                                  Suite 100
                                  Niwot, CO 80503
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Boulder                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.luckysmarket.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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                                       Case 20-10166-JTD                 Doc 1        Filed 01/27/20            Page 2 of 24
Debtor    Lucky's Market Parent Company, LLC                                                         Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4511
8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Schedule 1                                               Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 20-10166-JTD                    Doc 1        Filed 01/27/20             Page 3 of 24
Debtor   Lucky's Market Parent Company, LLC                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                  Why does the property need immediate attention? (Check all that apply.)
                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           It needs to be physically secured or protected from the weather.
                                           It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           Other
                                          Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                          Is the property insured?
                                           No
                                           Yes. Insurance agency
                                                      Contact name
                                                      Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                                  Case 20-10166-JTD                   Doc 1        Filed 01/27/20             Page 4 of 24
Debtor    Lucky's Market Parent Company, LLC                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 27, 2020
                                                  MM / DD / YYYY


                             X   /s/ Andrew T. Pillari                                                    Andrew T. Pillari
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Christopher A. Ward                                                   Date January 27, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Christopher A. Ward
                                 Printed name

                                 Polsinelli PC
                                 Firm name

                                 222 Delaware Avenue
                                 Suite 1101
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 252-0920                Email address      cward@polsinelli.com

                                 3877 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                                                     SCHEDULE 1

              Bankruptcy Cases Pending Or Being Filed By An Affiliate Of The Debtor

       On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors”), filed a petition1 with this Court for relief under
chapter 11 of the Bankruptcy Code. Contemporaneously with the filing of their petitions, the
Debtors filed a motion requesting that the chapter 11 cases of the entities listed below be
consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b) of
the Federal Rules of Bankruptcy Procedure.

                      Company                                              Date Filed                   District
        Lucky’s Market Parent Company, LLC                                 1/27/2020                    Delaware
       Lucky’s Market Operating Company, LLC                               1/27/2020                    Delaware
    Lucky’s Farmers Market Holding Company, LLC                            1/27/2020                    Delaware
                   LFM Stores LLC                                          1/27/2020                    Delaware
              Lucky’s Farmers Market, LP                                   1/27/2020                    Delaware
     Lucky’s Farmers Market Resource Center, LLC                           1/27/2020                    Delaware
       Lucky’s Market Holding Company 2, LLC                               1/27/2020                    Delaware
               Lucky’s Market GP 2, LP                                     1/27/2020                    Delaware
                 Lucky’s Market 2, LP                                      1/27/2020                    Delaware
                      Sinoc, Inc.                                          1/27/2020                    Delaware
          Lucky’s Market of Longmont, LLC                                  1/27/2020                    Delaware
       Lucky’s Farmers Market of Billings, LLC                             1/27/2020                    Delaware
      Lucky’s Farmers Market of Columbus, LLC                              1/27/2020                    Delaware
      Lucky’s Farmers Market of Rock Hill, LLC                             1/27/2020                    Delaware
                  LFM Jackson, LLC                                         1/27/2020                    Delaware
      Lucky’s Farmers Market of Ann Arbor, LLC                             1/27/2020                    Delaware
          Lucky’s Market of Gainesville, LLC                               1/27/2020                    Delaware
         Lucky’s Market of Bloomington, LLC                                1/27/2020                    Delaware
          Lucky’s Market of Plantation, LLC                                1/27/2020                    Delaware
        Lucky’s Market of Savannah, GA, LLC                                1/27/2020                    Delaware
         Lucky’s Market of Traverse City, LLC                              1/27/2020                    Delaware
          Lucky’s Market of Naples, FL, LLC                                1/27/2020                    Delaware




1
    All asset, liability, and creditor information on each petition was reported on a consolidated basis.


72068480.1
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Debtor name       Lucky'sLucky’s Lucky’s Parent
                          MarketMarket   MarketCompany,
                                                Parent Company,
                                                         LLC    LLC
UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                               12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                               claim is
mailing address, including zip              email address of creditor contact     claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


1   UNFI                                    Chris Testa                           Trade Payable                                                               $13,262,786.99
    Attn: Chris Testa                       Tel: 401-528-8634
    313 Iron Horse Way                      Email: ctesta@unfi.com
    Providence, RI 02908




2   BBIF Subsidiary Cde 3, LLC              Inez Long                             Prepetition New                                                               $5,944,290.00
    c/o Black Business Investment Fund,     Tel: 407-649-4780                     Markets Tax
    Inc                                     Fax: 407-649-8688                     Credits Loan
    Attn: Inez Long
    301 E Pine St, Ste 175
    Orlando, FL 32801



3   Sherwood Food Distributors              Scott Fournier                        Trade Payable                                                                 $2,124,640.91
    Attn: Scott Fournier                    Tel: 313-659-7300
    12499 Evergreen Rd                      Fax: 313-659-7717
    Detroit, MI 48228-1059                  Email: sfournier@sherwoodfoods.com




4   Snyder Construction Inc                 Justin P Synder                       Trade Payable                                                                 $1,958,847.73
    Attn: Justin P Snyder                   Tel: 248-765-3840
    2766 11 Mile Rd, Ste 1                  Email: justin@snyder-gc.com
    Berkley, MI 48072




5   Caito Foods Service                     Dave Cochran                          Trade Payable                                                                 $1,687,312.09
    Attn: Dave Cochran                      Tel: 317-897-2009
    3120 N Post Rd                          Email: dcochran@caitofoods.com
    Indianapolis, IN 46226




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                          Page 1
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Debtor name
                   Lucky’s Market Parent Company, LLC
                                                                                                         Case No. (If known)

                                                                       (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                              claim is
mailing address, including zip               email address of creditor contact    claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


6   BlueSoho                                 Dave Honan                           Trade Payable                                                                 $1,399,704.98
    c/o Quad/Graphics, Inc                   Tel: 414-566-6000
    Attn: Dave Honan                         Email: david.honan@qg.com
    N61 W23044 Harrys Way
    Sussex, WI 53089



7   Gourmet Foods International              Brian Scott                          Trade Payable                                                                  $962,310.62
    Attn: Brian Scott                        Tel: 404-229-1310
    255 Ted Turner Dr SW                     Email: bscott@atlantafoods.com
    Atlanta, GA 30303




8   J Raymond Construction Corp              Tom Borgia                           Trade Payable                                                                  $900,649.80
    Attn: Tom Borgia                         Tel: 407-862-6966
    465 W Warren Ave                         Email: tborgia@jray.com
    Longwood, FL 32750




9   Bunzl Holdings, Inc.                     Jim Mccool                           Trade Payable                                                                  $870,095.63
    Attn: Jim Mccool                         Tel: 314-997-5959
    1 Cityplace Dr, Ste 200                  Fax: 314-997-1405
    St. Louis, MO 63141                      Email: jim.mccool@bunzlusa.com




10 Schmid Construction                       John Schmid                          Trade Payable                                                                  $710,750.59
   Attn: John Schmid                         Tel: 352-243-8220
   1655 Fl-50                                Email: john@schmidconstruction.com
   Clermont, FL 34711




11 JDA Software Inc                          Girish Rishi                         Trade Payable                                                                  $653,337.65
   Attn: Girish Rishi                        Tel: 301-670-7100
   15059 North Scottsdale, Ste 400           Email: girish.rishi@motorola.com
   Scottsdale, AZ 85254




12 Harvest Meat Company Inc                  Jay Leavy                            Trade Payable                                                                  $504,746.26
   Attn: Jay Leavy                           Tel: 619-477-0185
   1022 Bay Marina Dr, Ste 106               Email: jay@harvestmeat.com
   National City, CA 91950




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                         Page 2
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Debtor name        Lucky’s Market Parent Company, LLC                                                       Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                 claim is
mailing address, including zip               email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


13 Creighton Construction Management         M Dan Creighton                         Trade Payable                                                                  $452,831.35
   Attn: M Dan Creighton                     Tel: 239-210-0455
   900 Sw Pine Island Rd, Ste 202            Fax: 239-673-7328
   Cape Coral, FL 33991




14 Crosset Company LLC                       Greg Kurkjian                           Trade Payable                                                                  $451,291.31
   Attn: Greg Kurkjian                       Tel: 859-347-4902
   10295 Toebben Dr                          Fax: 859-817-7634
   Independence, KY 41051                    Email: greg.kurkjian@ifco.com




15 5 Star Refrigeration & Air Conditioning   Joseph E Matthews                       Trade Payable                                                                  $405,915.47
   Inc                                       Tel: 352-345-4813
   Attn: Joseph E Matthews                   Email: joe.matthews@5-
   23091 Cortez Blvd                         starrefrigeration.com
   Brooksville, FL 34601



16 Nikko Enterprise Corporation              Sarah Myint                             Trade Payable                                                                  $380,193.16
   Attn: Sarah Myint                         Tel: 562-941-6080
   13168 Sandoval St                         Fax: 562-941-6067
   Sante Fe Springs, CA 90670




17 Glades 95Th LLC                           Brian Schmier                           Landlord            Unliquidated                                               $332,456.92
   c/o Schmier Property Group, Inc           Tel: 561-488-5100
   Attn: Brian Schmier                       Email: brian@schmierpropertygroup.com
   2200 Butts Rd, Ste 300
   Boca Raton, FL 33431



18 Hussmann Corporation                      Cathey Haigh                            Trade Payable                                                                  $306,618.75
   Attn: Cathey Haigh                        Tel: 314-298-4756
   12999 Saint Charles Rock Rd               Email: cathey.haigh@hussmann.com
   Bridgeton, MO 63044




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 3
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Debtor name       Lucky’s Market Parent Company, LLC                                                     Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                              claim is
mailing address, including zip               email address of creditor contact    claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


19 Global Axiom, Inc.                        Tim Yost                             Trade Payable                                                                  $295,837.90
   Attn: Tim Yost                            Tel: 917-237-2900
   295 Lafayette St, Ste 700                 Email: tim.yost@axiomlaw.com
   New York, NY 10012




20 Hawkins Construction                      John Mccaugherty                     Trade Payable                                                                  $294,910.89
   Attn: John Mccaugherty                    Tel: 727-938-9719
   1430 L And R Industrial Blvd              Fax: 727-938-3208
   Tarpon Springs, FL 34689                  Email: jmccaugherty@hawkinsnet.com




21 KPS Global LLC                            Mike Eakins                          Trade Payable                                                                  $291,730.85
   Attn: Mike Eakins                         Tel: 770-679-0986
   4201 N Beach St                           Email: mike.eakins@kpsglobal.com
   Fort Worth, TX 76137




22 Neelands Usa Ltd                          Noel Neelands                        Trade Payable                                                                  $279,968.59
   Attn: Noel Neelands                       Tel: 863-875-6534
   1775 Executive Rd, S                      Email: noel@neelands.com
   Winter Haven, FL 33884




23 Cardlytics Inc                            Scott Grimes                         Trade Payable                                                                  $278,368.15
   Attn: Scott Grimes                        Tel: 218-665-7690
   675 Ponce De Leon Ave NE, Ste 6000        Email: sgrimes@cardlytics.com
   Atlanta, GA 30308




24 Captiveaire Systems Inc                   Bob Luddy                            Trade Payable                                                                  $273,327.21
   Attn: Bob Luddy                           Tel: 919-882-2410
   4641 Paragon Park Rd                      Email: bob.luddy@captiveaire.com
   Raleigh, NC 27616




25 Charlies Produce                          Dwayne Wilson                        Trade Payable                                                                  $257,366.54
   Attn: Dwayne Wilson                       Tel: 206-625-1412
   4103 2nd Ave S                            Email:
   Seattle, WA 98134                         dwaynewilson@charliesproduce.com




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                         Page 4
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Debtor name       Lucky’s Market Parent Company, LLC                                                        Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                 claim is
mailing address, including zip               email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


26 Seasons-4 Inc                             Lee Churchill                           Trade Payable                                                                  $247,622.10
   Attn: Lee Churchill                       Tel: 770-489-0716
   4500 Industrial Access Rd                 Email: lchurchill@seasons4.net
   Douglasville, GA 30134




27 Halperns Steak & Garys Seafood            Ray Hicks                               Trade Payable                                                                  $242,766.97
   Attn: Ray Hicks                           Tel: 404-767-9229
   4685 Welcome All Rd                       Fax: 404-767-2611
   Atlanta, GA 30349




28 Truno Retail Technology Solutions         Brad Ralston                            Trade Payable                                                                  $229,121.73
   Attn: Brad Ralston                        Tel: 806-792-2885
   13912 Fm 1730                             Fax: 806-792-0710
   Lubbock, TX 79424                         Email: bralston@truno.com




29 Dania Live 1748, LLC                      Gary Bazydlo                            Landlord            Unliquidated                                        Undetermined
   c/o Kimco Realty Corporation              Tel: 718-987-0717
   Attn: Gary Bazydlo                        Email: gbazydlo@kimcorealty.com
   500 N Broadway, Ste 201
   P.O. Box 9010
   Jericho, NY 11753



   Dania Live 1748, LLC                      Karen Osterhout
   c/o Kimco Realty Corporation              Tel: 704-362-6120
   Attn: Karan Osterhout                     Email: kosterhout@kimcorealty.com
   6060 Piedmont Row Dr S, Ste 200
   Charlotte, NC 28287




30 Pineloch Center Street LLC                Heather Coons                           Landlord            Unliquidated                                        Undetermined
   Attn: Heather Coons                       Tel: 407-641-5409
   8998 Gladin Ct                            Email: heather@bluerockcommercial.com
   Orlando, FL 32819




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 5
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                         Chapter 11
LUCKY’S MARKET PARENT COMPANY,
LLC, et al.,1                                            Case No. 20-[_________]

                 Debtors.                                (Joint Administration Pending)


   CORPORATE OWNERSHIP STATEMENT PURSUANT TO FEDERAL RULES OF
              BANKRUPTCY PROCEDURE 1007 AND 7007.1

        Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the above-captioned debtors and debtor in possession (collectively, the “Debtors”) attach hereto
as Exhibit A an organizational chart reflecting all of their ownership interests. The Debtors
respectfully represent as follows:

       1.      The Kroger Co. owns fifty-five percent (55%) of the equity interests of Lucky’s
Market Parent Company, LLC (“LMPC”). Lucky’s Founders Holdings, LLC owns forty-five
percent (45%) of the equity interests of LMPC. To the best of Debtors’ knowledge and belief, no
other person or entity directly owns 10% or more of the equity interests of LMPC.

         2.      LMPC owns one hundred percent (100%) of the equity interests of Sinoc, Inc.

      3.      LMPC owns one hundred percent (100%) of the equity interests of Lucky’s
Market Operating Company, LLC.

      4.     LMPC owns one hundred percent (100%) of the equity interests of Lucky’s
Farmers Market Holding Company, LLC.

      5.      Lucky’s Farmers Market Holding Company, LLC owns one hundred percent
(100%) of the equity interests of LFM Stores, LLC.

        6.      LFM Stores, LLC owns one hundred percent (100%) of the general partnership
interests of Lucky’s Farmers Market, LP.

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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market Holding
Company, LLC (5480), Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC (3114), Lucky’s
Farmers Market, LP (0828), Lucky’s Farmers Market Resource Center, LLC (7711), Lucky’s Market Holding
Company 2, LLC (0607), Lucky’s Market GP 2, LLC (9335), Lucky’s Market 2, LP (8384), Lucky’s Market of
Longmont, LLC (9789), Lucky’s Farmers Market of Billings, LLC (8088), Lucky’s Farmers Markets of Columbus,
LLC (3379), Lucky’s Farmers Market of Rock Hill, LLC (3386), LFM Jackson, LLC (8300), Lucky’s Farmers
Market of Ann Arbor, LLC (4067), Lucky’s Market of Gainesville, LLC (7877), Lucky’s Market of Bloomington,
LLC (3944), Lucky’s Market of Plantation, LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s
Market of Traverse, City, LLC (2033), Lucky’s Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).



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        7.      Lucky’s Farmers Market, LP owns one hundred percent (100%) of the equity
interests of Lucky’s Farmers Market Resource Center, LLC.

        8.      Lucky’s Farmers Market, LP owns one hundred percent (100%) of the equity
interests of Lucky’s Market of Longmont, LLC.

        9.      Lucky’s Farmers Market, LP owns one hundred percent (100%) of the equity
interests of Lucky’s Market of Billings, LLC.

        10.     Lucky’s Farmers Market, LP owns one hundred percent (100%) of the equity
interests of Lucky’s Market of Columbus, LLC.

        11.     Lucky’s Farmers Market, LP owns one hundred percent (100%) of the equity
interests of Lucky’s Market of Rock Hill, LLC.

        12.    Lucky’s Farmers Market, LP owns one hundred percent (100%) of the equity
interests of LFM Jackson, LLC.

      13.    LMPC owns one hundred percent (100%) of the equity interests of Lucky’s
Market Holding Company 2, LLC.

       14.      Lucky’s Market Holding Company 2, LLC owns one hundred percent (100%) of
the equity interests of Lucky’s Market GP 2, LLC.

       15.     Lucky’s Market GP 2, LLC owns one hundred percent (100%) of the general
partnership interests of Lucky’s Market 2, LP.

      16.    Lucky’s Market 2, LP owns one hundred percent (100%) of the equity interests of
Lucky’s Farmer’s Market of Ann Arbor, LLC.

      17.    Lucky’s Market 2, LP owns one hundred percent (100%) of the equity interests of
Lucky’s Farmer’s Market of Gainesville, LLC.

      18.    Lucky’s Market 2, LP owns one hundred percent (100%) of the equity interests of
Lucky’s Farmer’s Market of Bloomington, LLC.

      19.    Lucky’s Market 2, LP owns one hundred percent (100%) of the equity interests of
Lucky’s Farmer’s Market of Plantation, LLC.

      20.    Lucky’s Market 2, LP owns one hundred percent (100%) of the equity interests of
Lucky’s Farmer’s Market of Savannah, GA, LLC.

      21.    Lucky’s Market 2, LP owns one hundred percent (100%) of the equity interests of
Lucky’s Farmer’s Market of Traverse City, LLC.

      22.    Lucky’s Market 2, LP owns one hundred percent (100%) of the equity interests of
Lucky’s Farmer’s Market of Naples, FL, LLC.



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                                    EXHIBIT A
                                 Organizational Chart




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 Fill in this information to identify the case:

 Debtor name         Lucky's Market Parent Company, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 27, 2020                        X /s/ Andrew T. Pillari
                                                                       Signature of individual signing on behalf of debtor

                                                                       Andrew T. Pillari
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                          District of Delaware
 In re      Lucky's Market Parent Company, LLC                                                                        Case No.
                                                                                      Debtor(s)                       Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Lucky’s Founders Holdings, LLC                                      Preferred          45%                                      Ownership
 6328 Monarch Park Place
 Niwot, CO 80502

 The Kroger Co.                                                      Preferred          55%                                      Ownership
 1014 Vine Street
 Cincinnati, OH 45202


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date January 27, 2020                                                           Signature /s/ Andrew T. Pillari
                                                                                              Andrew T. Pillari

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                        RESOLUTIONS ADOPTED AT A MEETING

                              OF THE BOARD OF MANAGERS

                                                 OF

                      LUCKY’S MARKET PARENT COMPANY, LLC


        The managers (the “Managers”) of the Board of Managers (the “Board”) of Lucky’s
Market Parent Company, LLC, a Delaware limited liability company (the “Company”) adopted
the following resolutions and duly authorized the taking of all actions contemplated hereby at a
duly held meeting of the Board on January 26, 2020, in accordance with that certain Amended and
Restated Limited Liability Company Agreement of the Company, dated as of April 1, 2016, as
amended (the “LLC Agreement”) and the provisions of Sections 18-302(d) and 18-404(d) of the
Delaware Limited Liability Company Act.

I.       CHAPTER 11 FILING

        WHEREAS, the Board has considered multiple presentations by management and the
financial and legal advisors of the Company regarding the liabilities and liquidity situation of the
Company, the strategic alternatives available to it and the effect of the foregoing on the Company’s
business; and

        WHEREAS, the Board has had the opportunity to consult with the management and the
financial and legal advisors of the Company and fully consider each of the strategic alternatives
available to the Company.

         NOW THEREFORE BE IT RESOLVED, that in the judgment of the Board, it is desirable
and in the best interests of the Company, that the Company shall be, and hereby is, authorized to
file or cause to be filed voluntary petitions for relief for the Company and each of the Company’s
direct and indirect subsidiaries (each affiliate is listed on the attached Schedule 1 and collectively
referred to herein as the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy
Court”).

       FURTHER RESOLVED, that the Chief Executive Officer, Chief Financial Officer, and
General Counsel (collectively, the “Authorized Officers”), acting alone or with one or more other
Authorized Officers be, and they hereby are, authorized, empowered and directed to execute and
file on behalf of the Company all petitions, schedules, lists and other motions, papers, or
documents, and to take any and all action that they deem necessary or proper to obtain such relief,
including, without limitation, any action necessary to maintain the ordinary course operation of
the Company’s business.

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers, be, and they hereby are, authorized, empowered and directed to certify
the authenticity of these resolutions.



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II.      RETENTION OF PROFESSIONALS

      WHEREAS, the Company had previously engaged consultants ALVAREZ & MARSAL
and POLSINELLI to assist the Company in evaluating restructuring options for the Company; and

    WHERAS, the Company desires to continue the engagement with ALVAREZ &
MARSAL and POLSINELLI ion connection with Chapter 11 cases.

        NOW THEREFORE, BE IT RESOLVED, that each of the Authorized Officers be, and
they hereby are, authorized and directed to employ the law firm of POLSINELLI as counsel to
represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to take
any and all actions to advance the Company’s rights and obligations, including filing any
pleadings; and in connection therewith, each of the Authorized Officers, with power of delegation,
are hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services of
POLSINELLI.

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the firm of ALVAREZ & MARSAL as financial advisor to
represent and assist the Authorized Officers and the Company in carrying out their duties under
the Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, each of the Authorized Officers are, with power of
delegation, hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of ALVAREZ & MARSAL.

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the firm of PJ SOLOMON as investment banker to represent
and assist the Authorized Officers and the Company in carrying out their duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and obligations;
and in connection therewith, each of the Authorized Officers are, with power of delegation, hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of PJ SOLOMON.

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the firm of OMNI AGENT SOLUTIONS as notice, claims, and
balloting agent and as administrative advisor to represent and assist the Company in carrying out
its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations; and in connection therewith, each of the Authorized Officers, with power
of delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of OMNI AGENT SOLUTIONS.

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Officers, with power of delegation, are hereby authorized and directed to execute appropriate


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retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary.

        FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby are,
with power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Officers deem necessary, proper, or desirable in connection with the Chapter 11 Cases, with a view
to the successful prosecution of such cases.

III.     GENERAL

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out
the intent and accomplish the purposes of the resolutions adopted herein.

        FURTHER RESOLVED, that all members of the Board have received sufficient notice of
the actions and transactions relating to the matters contemplated by the foregoing resolutions, as
may be required by the organizational documents of the Company, or hereby waive any right to
have received such notice.

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Board.

        FURTHER RESOLVED, that each of the Authorized Officers (and their designees and
delegates) be and hereby are authorized and empowered to take all actions or to not take any action
in the name of the Company with respect to the transactions contemplated by these resolutions
hereunder as the sole stockholder, manager, member, or managing member of each direct and
indirect subsidiary of the Company, in each case, as such Authorized Officer shall deem necessary
or desirable in such Authorized Officers’ reasonable business judgment as may be necessary or
appropriate to effectuate the purposes of the transactions contemplated herein.




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                                       Schedule 1

                                       Subsidiaries

1.       Lucky’s Market Parent Company, LLC
2.       Lucky’s Market Operating Company, LLC
3.       Lucky’s Farmers Market Holding Company, LLC
4.       LFM Stores LLC
5.       Lucky’s Farmers Market, LP
6.       Lucky’s Farmers Market Resource Center, LLC
7.       Lucky’s Market Holding Company 2, LLC
8.       Lucky’s Market GP 2, LP
9.       Sinoc, Inc
10.      Lucky’s Market of Longmont, LLC
11.      Lucky’s Farmers Market of Billings, LLC
12.      Lucky’s Farmers Market of Columbus, LLC
13.      Lucky’s Farmers Market of Rock Hill, LLC
14.      LFM Jackson, LLC
15.      Lucky’s Market 2, LP
16.      Lucky’s Farmers Market of Ann Arbor, LLC
17.      Lucky’s Market of Gainesville, LLC
18.      Lucky’s Market of Bloomington, LLC
19.      Lucky’s Market of Plantation, LLC
20.      Lucky’s Market of Savannah, GA, LLC
21.      Lucky’s Market of Traverse City, LLC
22.      Lucky’s Market of Naples, FL, LLC




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                           RESOLUTIONS ADOPTED AT A
                        MEETING OF THE SPECIAL COMMITTEE

                                                OF

                      LUCKY’S MARKET PARENT COMPANY, LLC


       The member (the “Member”) of the Special Committee of the Board of Managers (the
“Board”) of Lucky’s Market Parent Company, LLC, a Delaware limited liability company (the
“Company”) adopted the following resolutions and duly authorized the taking of all actions
contemplated hereby at the executive session of the duly held meeting of the Board on January 26,
2020, in accordance with that certain Amended and Restated Limited Liability Company
Agreement of the Company, dated as of April 1, 2016, as amended (the “LLC Agreement”) and
the provisions of Sections 18-302(d) and 18-404(d) of the Delaware Limited Liability Company
Act.

I.       CASH COLLATERAL AND ADEQUATE PROTECTION

        WHEREAS, the Company will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in the provisions of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”) section 363(a) (the “Collateral”), which is security for The Kroger
Co. as the prepetition secured lender (the “Prepetition Secured Lender”); and

        WHEREAS, that to use and obtain the benefits of the Collateral and in accordance with
Bankruptcy Code section 363, the Company will provide certain adequate protection to the
Prepetition Secured Lender (the “Adequate Protection Obligations”), as documented in a proposed
interim order (the “Cash Collateral Order”) and submitted for approval to the in a court of proper
jurisdiction (the “Bankruptcy Court”).

       NOW THEREFORE BE IT RESOLVED, that that the form, terms and provisions of the
Cash Collateral Order to which the Company is or will be subject, and the actions and transactions
contemplated thereby be, and hereby are authorized, adopted and approved, and each of the Chief
Executive Officer, Chief Financial Officer, and General Counsel (collectively, the “Authorized
Officers”) of the Company be, and they hereby are, authorized and empowered, in the name of and
on behalf of the Company, to take such actions and negotiate or cause to be prepared and negotiated
and to execute, deliver, perform, and cause the performance of, the Cash Collateral Order, and
such other agreements, certificates, instruments, receipts, petitions, motions or other papers or
documents to which the Company is or will be a party (collectively with the Cash Collateral Order,
the “Cash Collateral Documents”), incur and pay or cause to be paid all fees and expenses and
engage such persons, in each case, in the form or substantially in the form thereof submitted to the
Member, with such changes, additions, and modifications thereto as the Authorized Officers of the
Company executing the same shall approve, such approval to be conclusively evidenced by such
Authorized Officers’ execution and delivery thereof.

       FURTHER RESOLVED, that that the Company, as debtor and debtor in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations


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(as set forth in the Cash Collateral Order) and to undertake any and all related transactions on
substantially the same terms as contemplated under the Cash Collateral Documents (collectively,
the “Adequate Protection Transactions”).

        FURTHER RESOLVED, that the Authorized Officers of the Company be, and they hereby
are, authorized and directed, and each of them acting alone hereby is, authorized, directed, and
empowered in the name of, and on behalf of, the Company, as debtor and debtor in possession, to
take such actions as in their discretion is determined to be necessary, desirable, or appropriate and
execute the Adequate Protection Transactions, including delivery of: (a) the Cash Collateral
Documents and such agreements, certificates, instruments, guaranties, notices and any and all
other documents, including, without limitation, any amendments to any Cash Collateral
Documents (collectively, the “Adequate Protection Documents”); (b) such other instruments,
certificates, notices, assignments, and documents as may be reasonably requested by the
prepetition lenders; and (c) such forms of deposit, account control agreements, officer’s certificates
and compliance certificates as may be required by the Cash Collateral Documents or any other
Adequate Protection Document.

         FURTHER RESOLVED, that each of the Authorized Officers of the Company be, and
they hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the Adequate Protection Transactions
and all fees and expenses incurred by or on behalf of the Company in connection with the foregoing
resolutions, in accordance with the terms of the Adequate Protection Documents, which shall in
their sole judgment be necessary, proper or advisable to perform the Company’s obligations under
or in connection with the Cash Collateral Order or any of the other Adequate Protection Documents
and the transactions contemplated therein and to carry out fully the intent of the foregoing
resolutions.

       FURTHER RESOLVED, that each of the Authorized Officers of the Company be, and
they hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company, to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the Cash Collateral Order or any of
the Adequate Protection Documents or to do such other things which shall in their sole judgment
be necessary, desirable, proper, or advisable to give effect to the foregoing resolutions, which
determination shall be conclusively evidenced by their execution thereof.

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out
the intent and accomplish the purposes of the resolutions adopted herein.

       FURTHER RESOLVED, that member of the Special Committee of the Company has
received sufficient notice of the actions and transactions relating to the matters contemplated by

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the foregoing resolutions, as may be required by the organizational documents of the Company, or
hereby waive any right to have received such notice.

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Special Committee.

        FURTHER RESOLVED, that each of the Authorized Officers (and their designees and
delegates) be and hereby are authorized and empowered to take all actions or to not take any action
in the name of the Company with respect to the transactions contemplated by these resolutions
hereunder as the sole shareholder, partner, member or managing member of each direct and
indirect subsidiary of the Company, in each case, as such Authorized Officer shall deem necessary
or desirable in such Authorized Officers’ reasonable business judgment as may be necessary or
appropriate to effectuate the purposes of the transactions contemplated herein.

II.      GENERAL

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out
the intent and accomplish the purposes of the resolutions adopted herein.

        FURTHER RESOLVED, that the member of the Special Committee of the Board has
received sufficient notice of the actions and transactions relating to the matters contemplated by
the foregoing resolutions, as may be required by the organizational documents of the Company, or
hereby waive any right to have received such notice.

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Board.

        FURTHER RESOLVED, that each of the Authorized Officers (and their designees and
delegates) be and hereby are authorized and empowered to take all actions or to not take any action
in the name of the Company with respect to the transactions contemplated by these resolutions
hereunder as the sole stockholder, manager, member, or managing member of each direct and


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indirect subsidiary of the Company, in each case, as such Authorized Officer shall deem necessary
or desirable in such Authorized Officers’ reasonable business judgment as may be necessary or
appropriate to effectuate the purposes of the transactions contemplated herein.




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